      Case 3:13-cv-01132-RNC          Document 856       Filed 11/14/16     Page 1 of 13




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT


 GERVIL ST. LOUIS,
                                                      Civ. A. No. 3:13-cv-01132-RNC
                Plaintiff,

        vs.                                           Dated: November 14, 2016

 DOUGLAS PERLITZ, et al.,

                Defendants.


 This document relates to:

 Lecenat v. Perlitz, No. 13-1633
 Dorcine v. Perlitz, No. 13-1701
 Mackenson v. Perlitz, No. 14-125
 Deriza v. Perlitz, No. 14-668




                  DECLARATION OF VIVIAN GROSSWALD CURRAN

       1.     My name is Vivian Grosswald Curran. I serve as Distinguished Professor of Law

at the University of Pittsburgh School of Law. I have been a tenured professor of law since

1999. I teach and write in the area of comparative law, and specialize in French, German,

international and transnational law. I am an elected member of the International Academy of

Comparative Law, the American Law Institute, the Société de Législation Comparée, of which I

serve as President of the North-American section, and am President of the American Society of

Comparative Law. I am Editor, with Mortimer Sellers, of Cambridge University Press’ American

Society of Comparative Law’s Comparative Law Series. I frequently publish scholarly work in

French in books and law journals and have worked for many years with a group of French

scholars, lawyers and judges, including Supreme Court judges, at the Collège de France. I also
       Case 3:13-cv-01132-RNC           Document 856          Filed 11/14/16      Page 2 of 13




often lecture in French universities. I was raised speaking French at home as a mother tongue

and attended a French school as a child in Paris. In 2013, I was decorated by the French

government as a Chevalier des palmes académiques.

        2.      A copy of my résumé is attached hereto as Exhibit 1. All translations from the

French in this Declaration are mine. I am paid for my time at my ordinary hourly rate of $400;

my opinions are not contingent on my compensation.

        3.      I submit this opinion about Father Carrier’s potential liability under French tort

law at the request of counsel for Father Carrier, a defendant in this action. I have been asked to

assume certain facts for the purposes of this opinion, which I attach hereto as Exhibit 2.

  I.    French Legal Interpretation: General Remarks

        4.      In keeping with the Continental European civil-law tradition, based on Roman

law, in theory all of French law is codified, and its spirit is to be found in the Civil Code. While

this is an overly simplistic statement of today’s reality, it is important as it still means that judges

must decide each case based on textual law of some kind. Primary French legal authority is

written law, whether a Code article or a statute enacted thereunder. French tort law is unusual,

however, in that only six Civil Code articles deal with it: as of revisions of October 1, 2016, they

are Articles 1240-1245. Until October 1, 2016, only five existed, Articles1382-1386.

Consequently, Supreme Court cases have had a greater influence on its development than in

many other areas of law.

        5.      Supreme Court cases do have an important influence in French law in general if

they meet one of three criteria, even though they still are not considered a primary source of law.

Nevertheless, they will be followed where: (1) the most renowned scholars approve of the result;

or (2) the Supreme Court has met en banc, or, in literal translation from the French, in plenary

session (assemblée plénière). In that situation, the decisions are said to lay down principles for
                                                   2
      Case 3:13-cv-01132-RNC            Document 856         Filed 11/14/16      Page 3 of 13




future application (“arrêts de principe”); or (3) where the Supreme Court has ruled in the same

way not just once but many times, even though the Court was not sitting en banc in these

decisions. This latter situation is known as a “continuous line of decisions” (“jurisprudence

constante”). Since stare decisis does not exist in France, the power of these three situations lies

in that they endow the decisions with reliability as a predictor of future, like decisions, albeit not

a legally required one.

       6.      A French judge deciding a pending case is primarily tasked with deciding which

Code provision(s) apply to the case, and applying them. He or she would be familiar with the

important scholarly treatises in the area as well as with prior Supreme Court cases on the same

subject, but the Supreme Court judge is confined to drafting a decision composed of one

sentence that identifies the applicable textual law, the parties’ legal arguments, and the result

mandated by the correct deductive application of the text to the legal issues.

       7.      In recent years, all Supreme Court and appellate court decisions have been made

available on French government sites online, but no lawyer would consider them useful without

seeing them presented in the context of scholarly commentary. Even where, as is especially the

case with appellate court decisions, the text seems understandable, the scholar’s opinion of the

decision is needed as guidance in terms of whether future courts should and may be likely to

follow it. French legal research therefore requires reading the important scholarly treatises and

the Supreme Court cases as presented by scholars in the weekly publications of case analyses.

The latter include the text of the cases themselves.

       8.      I am not an expert in Haitian law; however, in nations whose codified laws are

based on French laws, courts may refer to French law where, as in the instant situation, a Code

provision is identical in wording to the corresponding one in French law, and in fact was derived



                                                  3
          Case 3:13-cv-01132-RNC               Document 856            Filed 11/14/16        Page 4 of 13




from it. See Banque canadienne c. Soucisse [1981], 2 R.C.S. (Supreme Court of Canada stating

that French law “has considerable weight because the Napoleonic [French] law it applies is the

same as our own”); accord, Houle c. Banque nationale du Canada, [1990] 3 R.C.S. 122

(Canadian Supreme court stating that French law is relevant to pending case once Court has

verified that it was basis for corresponding Canadian law); Banque de Montréal c. Bail Ltée

[1992]2 RCS 554 (Canadian Supreme Court looks to French scholars for clarification of French

doctrine of good faith in order to apply it to pending Canadian case under Canadian Quebec

law.) See also Brigitte Lefèbvre, L’évolution de la justice contractuelle en droit québécois : une

influence marquée du droit français quoique non exclusive, L’ACCULTURATION EN DROIT DES

AFFAIRES 191, 212 (2007). Judicial consultation of French law also occurs in Louisiana. See

Joseph Dainow, Planiol Citations by Louisiana Courts: 1959-1966, 27 LA. L. REV. 231 (1967).

    II.    The Supervisory Claim against Father Carrier for Perlitz’s Conduct

           9.       Looking at the facts of this case, a French lawyer or judge would conclude that

the applicable Code provision for this claim is Article 1384 (5) of the Civil Code: 1

           One is liable not only for the harm one causes by one’s own act, but also for that caused
           by persons for whom one must answer, or for things in one’s custody … [including]

           Masters and principals, for the harm caused by their servants and agents in the duties in
           which they [the principals] have employed them [the agents].

The agent must commit a tort for the principal to come within the purview of this provision.

Cass. 2e civ. 8 oct. 1969. Bull. Civ. II no. 269; JACQUES FLOUR & JEAN-LUC AUBERT, II LES

OBLIGATIONS para 212 (4e éd. Armand Colin 1989).

           10.      The primary element of French agency is a relationship of subordination which

the victim must prove. FRANCOIS TERRE et al.,DROIT CIVIL DES OBLIGATIONS, para.829 (a), and



1
    Article 1384 was renumbered on October 1, 2016 and now is Article 1242, but the two are textually identical.

                                                           4
      Case 3:13-cv-01132-RNC            Document 856         Filed 11/14/16       Page 5 of 13




sources cited therein (Dalloz, 11e éd. 2013). The Supreme Court has defined this relationship as

the principal’s right and authority to give the agent orders as to how to carry out his or her job.

Cass. Civ. 12 janv, 1977, no. 75-10.517, and by the agent’s acting on behalf of the principal. See

MIREILLE BACACHE-GIBEILI, LES OBLIGATIONS: LA RESPONSABILITE CIVILE

EXTRACONTRACTUELLE para.s 289, 295, 298 (Economica, 3e éd. 2016).

        11.     Although an employment contract is not strictly required for such an employment

relationship to exist if the facts reflect a relationship of subordination between the two parties,

ALAIN BENABENT, DROIT CIVIL: LES OBLIGATIONS, paras. 578, 579 (2007), it is a rare case in

which Art. 1384 (5) is applied without one. Thus, Professor Benabent notes that a contract must

exist between the two parties, and that “[t]his contract in principle is the employment contract.”

Id. at para. 579 (emphasis added). Father Carrier was not the employer of Perlitz under any

employment contract under the facts as I understand them.

        12.     Under these criteria, French law would not sanction a finding that Father Carrier

is liable as Perlitz’s principal unless the plaintiffs were able to establish that he had the authority

to order Perlitz as to how to carry out his job, and that a relationship of subordination existed

between the two. As noted above, other than in exceptional circumstances, it also would be

necessary under French law to find that Perlitz worked for Father Carrier under an employment

contract. Perhaps equally importantly, my review of French cases reflecting agency liability of

the kind being alleged here indicates that it generally is found where the principal is a legal

person, not an individual.

        13.     Thus, under the standards set forth above, Father Carrier would not be liable for

negligence due to Perlitz’s conduct under French law.




                                                   5
       Case 3:13-cv-01132-RNC               Document 856           Filed 11/14/16        Page 6 of 13




III.    The Claim against Father Carrier for Breach of Fiduciary Duty.

        14.      French law does not have a real equivalent to the concept of fiduciary duty.

Corporate directors and others in positions of power within corporations have what, literally

translated, is a “duty of loyalty” to their corporation and shareholders. The French duty of

loyalty is a judicially developed doctrine derived from what was Article L.225-251 of the Code

of Commerce:2

        The [corporate] administration and the president are jointly and severally liable as the
        case may be to the company or to third parties, either for violations of statutes or
        regulations applicable to limited liability companies, or for violations of the articles of
        incorporation, or for wrongdoing committed in their management…

        15.      The duty of loyalty resembles a duty of good faith dealing, which is the general

meaning of “loyal” or its opposite, “déloyal,” in French law. The French corporate duty of

loyalty is not heightened in degree as is the U.S. fiduciary duty, which carries the highest level of

obligation possible. In France, the duty is special because it is recognized as a specific one in

addition to the general duty of good faith of everyone in business, i.e., it is a particular duty

corporate directors and CEOs owe to their partners, companies and shareholders. Some

commentators have likened it to the common law fiduciary duty, but that is inasmuch as both

require that the corporate director or CEO be free of conflicts of interests and act in good faith

towards his or her partners, company and shareholders. See KARINE GREVAN-LEMERCIER, LE

DEVOIR DE LOYAUTE EN DROIT DES SOCIETES, para.s 120-133 (2013).

        As the following paragraphs explain, the French corporate duty of loyalty has been

applied only to financial transactions where the defendant is alleged to have profited personally




2
  A new version of the French Code of Commerce entered into force on November 1, 2016. For the identical text in
the current Code of Commerce, see Article L. 223-22.

                                                        6
      Case 3:13-cv-01132-RNC            Document 856        Filed 11/14/16      Page 7 of 13




at the financial expense of the victim or to have undermined the financial wellbeing of the

company through financially-directed matters.

       16.     In 2012, the French Supreme Court extended the duty of loyalty from its limited

context of dealings in sales, divestments and stock matters in which directors and other corporate

leaders were involved to where the director of a medical corporation was held liable for

acquiring personal title to the building in which his professional company practiced, when he did

not inform his partners thereof, and where the company wanted to acquire the building in the

company’s name. Cass, com., 18 déc. 2012. His duty of loyalty was to his fellow partners and

the corporation on whose board of directors he sat. Id.

       17.     The most recent case to extend the duty of loyalty still remains entirely rooted in

financial matters. Decided by the Supreme Court in July of 2016, it involved a director whose

employment contract stipulated that he would receive a severance package if discharged, except

if for serious wrongdoing. He was discharged without severance pay for having undermined the

company’s prospects and its economic model at executive meetings, for trying to create hostility

between the corporation and its majority shareholder in individual communications with

potential investors, and by hiding information, thus putting the company’s refinancing plan at

risk. Cass. Com. 5 juillet 2016, no. 14-23.904. The Supreme Court upheld his discharge without

the golden parachute for breach of loyalty to his company. Id.

       18.     French duty of loyalty cases have focused on self-serving conduct that inures to

the personal profit of the defendant or, in its newest extension, to the direct financial detriment of

the corporation. In commenting on the 2016 case, a French scholar has noted that it is not even

certain that the Supreme Court would have ruled in the same way had the 2016 golden parachute

suit involved only the director’s duty of loyalty to the majority shareholder. Bruno Dondero, La



                                                  7
      Case 3:13-cv-01132-RNC            Document 856         Filed 11/14/16      Page 8 of 13




loyauté du dirigeant due à la société et à l’actionnaire, https://brunodondero.com/2016/07/14/la-

loyaute-du-dirigeant-due-a-la-societe-et-a-lactionnaire-cass-com-5-juil-2016-n-14-23904/. See

also GREVAIN-LEMERCIER, supra para. 15, at para.s 549-569 (recounting permutations of

corporate management personal liability, with potential personal liability under French law of

one in corporate management always involving allegations brought by the allegedly injured

corporation, fellow management members or shareholders, and where allegations concerned

financial abuse, generally to the personal profit of defendant).

       19.     In conclusion, although an allegation of breach of fiduciary duty by Father Carrier

would have no exact equivalent in France, under French law a duty of loyalty by Father Carrier

would have been owed in his capacity as director and President of Haiti Fund, Inc. to Haiti Fund,

Inc., and to his fellow officers and shareholders. Under the French duty of loyalty, he would not

have owed a duty to the plaintiffs in the instant case because they were neither (1) a corporate

entity which he directed; his partners in such a corporate entity; or (3) shareholders thereof.

IV.    Father Carrier’s Potential Liability as Director and President of Haiti Fund, Inc.

       20.     Under the facts I have been asked to assume, Father Carrier was a director of

Haiti Fund, Inc. for all of the time relevant to this action, and President for much of it; Haiti

Fund, Inc. paid for his travels to Haiti; and he reported to the corporation about his activities

there on a regular basis. I have reviewed the plaintiffs’ Complaint and note that they themselves

allege that he travelled there as Haiti Fund, Inc’s representative, para. 54; and that Father Carrier

supervised PPT in his capacity as Haiti, Inc.’s representative: i.e., “[a]s the Chairman and then

President of the Haiti Fund,” para. 55; and that he “acted as the eyes and ears of the Haiti Fund,”

para. 93. Finally, they conclude in paragraphs 127-135 that the Haiti Fund, Inc. is responsible

for Father Carrier’s alleged torts, along with other corporate defendants whom he represented.



                                                  8
        Case 3:13-cv-01132-RNC           Document 856          Filed 11/14/16     Page 9 of 13




21.        Under French law, it is more difficult to establish the personal liability of a corporate

      director or CEO than that of a corporation or other party in a tort action because the French

      Supreme Court has held that “corporations are responsible for the wrongdoing for which they

      have made themselves liable through their representatives.” Cass. Civ. 2e, 17 juill. 1967

      («corporations are liable for the wrongdoing of their representatives. ») Accord, Aix-en-

      Provence, 20 févr. 1969 (company committee’s tort); CA Paris, 30 janv. 1970 (corporation’s

      tort); Cass. Com. 18 févr. 1997, no. 95-12617; Cass. Soc. 26 janv. 2000, no. 97-15291, Bull.

      civ. V, n° 38 (union’s tort). Critics who perceive the law as granting virtual immunity to

      corporate directors have commented that “the [French] Supreme Court [of private law]

      protects corporate directors the way the [French] Supreme Court of Administrative Law

      protects civil servants, namely in an environment of unaccountability.” M. COZIAN, F.

      DEBOISSY, A. VIANDER, DROIT DES SOCIETIES, 161 (23e éd., 2010) (emphasis added), quoted

      in Pauline Blaise, La recherche de la responsabilité de l’actionnaire dominant 18 (dir. Elsa

      Peskine & Antoine Lyon-Caen, 2012-2013), available at

      https://www.academia.edu/10416890/La_Recherche_de_la_responsabilit%C3%A9_de_lactio

      nnaire_dominant_m%C3%A9moire_. This is an area where scholars are often critical of the

      great extent to which the French Supreme Court protects corporate directors and CEOs from

      personal liability for misconduct, but where such disapproval has not changed the course of

      the Supreme Court. See Blaise, supra this para, at 19.

         Based on the plaintiffs’ own allegations, it seems uncontested that Father Carrier was

      Haiti Fund, Inc.’s representative with respect to the conduct at issue, and that, under the

      standards set forth above and below in this section IV, that he would not be liable to plaintiffs

      under French law for tortious acts as director or President of Haiti Fund, Inc.



                                                    9
      Case 3:13-cv-01132-RNC            Document 856         Filed 11/14/16      Page 10 of 13




       22.     A corporate director can be personally liable under French law for a tort only

under restricted circumstances, defined by the Supreme Court in an often-repeated phrase as

“where the director commits an intentional tort of special gravity that is incompatible with the

normal exercise of his corporate duties.” Cass. Crim. 20 mai 2003, D. 2003 2623, note B.

Dondero. In any case in which the director was exercising his normal corporate functions, the

party responsible for his tort is the corporation. BENABENT, supra para. 12, at para. 588.

Particularly noteworthy in this context is that even “[t]he fact that [the underlying act] is a

criminal violation is not sufficient to make it automatically incompatible with the normal

exercise of his functions.” Id., citing Cass. Civ. 1re, 4 janvier 2006, Bull. Civ. I, no. 7 (emphasis

added). Unintentional torts, such as those alleged against Father Carrier, therefore do not suffice.

       23.     It has been specifically emphasized that under the French Supreme Court

standard, even intentional torts do not subject a director to personal liability, provided that they

are not “of a special gravity,” and that, in order for a director to be held personally liable for a

tort, the act must also be “without any link whatsoever to his functions…” Bruno Dondero,

Définition de la faute séparable des fonctions du dirigeant social, 2003 DALLOZ, 2623 (emphasis

added). See also Blaise, supra, para.21, at 19 (findings of severability are made only in the most

exceptional circumstances where there is no relation whatsoever between the act of the defendant

and the corporation). This standard echoes laws of corporations passed under the French Code of

Commerce (L. 223-22 and 225-251). Id.

24.    While French corporate law, L-223-22 in particular, refers to the need for severability of

the director’s act from his corporate functions for his personal liability to be envisaged, it also

makes clear that it contemplates personal liability for his mismanagement of the company

(referring to directors’ “wrongdoing committed in their management” and “in the fulfillment of



                                                  10
     Case 3:13-cv-01132-RNC               Document 856      Filed 11/14/16       Page 11 of 13




their mandate”). See Dondero, supra para. 22. The conduct of Father Carrier that plaintiffs allege

to have been tortious to my understanding did not involve corporate management and therefore

would not entail personal liability in France under this standard.

       25.     An illustrative case decided by the Supreme Court in 2013 involved a complaint

for personal liability against a director who decided to pay corporate dividends beyond what the

company could afford, making it unable to pay the salary of their employee, who sued the

director. Cass. Comm. 12 mars 2013, F-D, n° 12-11.514. Although the Court acknowledged that

the plaintiff alleged an act by the director defendant that knowingly would deprive the employee

of her salary in order for the director to be personally enriched, it held that the defendant’s act

was committed in the course of exercising corporate functions. Id.

       26.     In conclusion, to the extent that the plaintiffs do not allege either an intentional

tort or criminal conduct by Father Carrier, and that they could not prove both that (1) alleged

intentional torts were of a special gravity in his companies’ management activities, and also (2)

that they had no connection to the exercise of Father Carrier’s corporate functions by virtue, e.g.,

of being acts destined to inure purely to his personal profit or to the ruin of his company, under

French law Father Carrier was Haiti, Inc.’s representative, and that if plaintiffs establish torts,

Haiti, Inc. would be the sole party liable for the torts alleged against Father Carrier in his

capacity as its director and president.

       27.     Under the facts I have been asked to assume, further buttressed by plaintiffs’ own

allegations in their Complaint, my conclusion is that Father Carrier would not be liable to the

plaintiffs under French tort law or the duty of loyalty.




                                                  11
    Case 3:13-cv-01132-RNC          Document 856        Filed 11/14/16      Page 12 of 13




      I declare under penalty of perjury that the foregoing is true and correct. Executed on

November 11, 2016.

                                                           /s/ Vivian Grosswald Curran
                                                           Vivian Grosswald Curran




                                              12
         Case 3:13-cv-01132-RNC        Document 856         Filed 11/14/16      Page 13 of 13




                                   CERTIFICATE OF SERVICE

        I certify that on November 14, 2016, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system and by first-class mail to all parties who are unable to accept electronic
filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF system.

       I further certify that on November 14, 2016, I caused a copy of the foregoing document to
be served by first-class mail, postage prepaid, on counsel for the defendant, Douglas Perlitz, who
is unable to accept electronic service:

              David T. Grudberg, Esq.                              Michael McCooey
             Carmody & Torrance, LLP                             Chair, Haiti Fund, Inc.
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                                                       /s/ Theodore J. Folkman


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